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                                                                                  United States Bankruptcy Court
                                                                                      Southern District of Texas

                                                                                         ENTERED
                        IN THE UNITED STATES BANKRUPTCY COURT                         January 24, 2025
                          FOR THE SOUTHERN DISTRICT OF TEXAS                          Nathan Ochsner, Clerk
                                   HOUSTON DIVISION

 In Re:                                           §   Chapter 7
                                                  §
 HOUSTON REAL ESTATE                              §   Case No. 22-32998
 PROPERTIES, LLC,                                 §
                                                  §
          Debtor.                                 §
                                                  §
                                                  §
 JOHN QUINLAN, OMAR KHAWAJA,                      §
 AND OSAMA ABDULLATIF, et al.,                    §
                                                  §
          Plaintiffs,                             §
                                                  §   Adversary No. 23-03141
 v.                                               §
                                                  §
 HOUSTON REAL ESTATE                              §
 PROPERTIES, LLC, et al.,                         §
                                                  §
        Defendants.
      ORDER GRANTING EMERGENCY MOTION TO EXPUNGE LIS PENDENS
                                      (ECF No. 457)
       Cypress BridgeCo, LLC’s Emergency Motion to Expunge Lis Pendens is granted.

       IT IS THEREFORE ORDERED that the Notice of Lis Pendens recorded on December
10, 2024, as Instrument No. RP-2024-459259 in the real property records of Harris County,

Texas pertaining to the real property legally described as:
       A tract of land containing 1.34 acres being out of Lot 4, Peter Wilson Tract
       Division, and Lot 2 of Bayou Woods Subdivision in Harris County, Texas as
       recorded in Volume 18, Page 46 of the Map Records of said Harris County, Texas,
       and being the same tract of land as described in deed to James Tang under Clerk's
       File Number L423456 of the Real Property Records of said Harris County, Texas.

and commonly known as 9201 Memorial Drive, Houston, Texas 77024 is hereby

EXPUNGED pursuant to Section 12.0071 of the Texas Property Code.



                           January  24,2018
                             April 04,  2025                  Jeffrey Norman
                                                              United States Bankruptcy Judge
